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                           UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division


 UNITED STATES OF AMERICA

       v.                                           Case Number 1:20-cr-193

 PETER RAFAEL DZIBINSKI DEBBINS,
              Defendant.


                       VIDEO OR TELEPHONE CONFERENCING ORDER
                              FOR CRIMINAL PROCEEDINGS

        In accordance with Case No. 2:20mc7, Gen. Order 2020-09, this Court finds that the

defendant, after consultation with counsel, has consented to the use of video or telephone

conferencing to conduct the preliminary criminal proceeding(s) to be held today, as authorized by

§ 15002(b)(1) of the CARES Act. See CARES Act, H.R. 748, 116th Congress (2020).

As previously found in Case No. 2:20mc7, such preliminary criminal proceeding(s) fall(s) within

the class of “critical” proceedings that should not be materially delayed in light of the ongoing

COVID-19 pandemic. See Case No. 2:20mc7, Gen. Orders 2020-03 and 2020-07. Accordingly,

it is hereby

        ORDERED that the criminal proceeding(s) to be held on this date may be conducted by

Video Teleconferencing.


                                                                            /s/
                                                             Michael S. Nachmanoff
                                                             United States Magistrate Judge

August 24, 2020
Alexandria, Virginia
